Case 1:21-md-02989-CMA Document 267 Entered on FLSD Docket 04/27/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   IN RE:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   ____________________________________
   THIS DOCUMENT RELATES TO:

   SHANE CHENG AND TERELL STERLING,
   on behalf of themselves and all others similarly situated,

            Plaintiffs,
                                                                Case No.: 1:21-cv-21318-CMA
   v.

   ALLY FINANCIAL, INC., et al.,

        Defendants.
   ____________________________________/


                                NOTICE OF FIRM NAME CHANGE

            TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

   PLEASE TAKE NOTICE that the law firm of Joseph Saveri Law Firm, Inc. has changed its

   name to Joseph Saveri Law Firm, LLP, effective April 13, 2021. The contact information for

   Anupama K. Reddy, counsel for Plaintiffs Shang Cheng and Terell Sterling in the above-

   captioned action, is now:




                                                     1
Case 1:21-md-02989-CMA Document 267 Entered on FLSD Docket 04/27/2021 Page 2 of 2




          Anupama K. Reddy
          JOSEPH SAVERI LAW FIRM, LLP
          601 California Street, Suite 1000
          San Francisco, CA 94108
          Telephone: (415) 500-6800
          Facsimile: (415) 395-9940
          areddy@saverilawfirm.com


   Dated: April 27, 2021                      JOSEPH SAVERI LAW FIRM, LLP


                                              By:    /s/ Anupama K. Reddy
                                                     Anupama K. Reddy


                                              Joseph R. Saveri (CA Bar No. 130064)
                                              Steven N. Williams (CA Bar No. 175489)
                                              Christopher K.L. Young (CA Bar No. 318371)
                                              Anupama K. Reddy (CA Bar No. 324873)
                                              JOSEPH SAVERI LAW FIRM, LLP
                                              601 California Street, Suite 1000
                                              San Francisco, CA 94108
                                              Telephone: (415) 500-6800
                                              Facsimile: (415) 395-9940
                                              jsaveri@saverilawfirm.com
                                              swillliams@saverilawfirm.com
                                              cyoung@saverilawfirm.com
                                              areddy@saverilawfirm.com

                                              Attorneys for Plaintiffs Shane Cheng and Terell
                                              Sterling




                                                 2
